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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


    In re:
                                                                                  PROMESA
    THE FINANCIAL OVERSIGHT AND MANAGEMENT                                        Title III
    BOARD FOR PUERTO RICO,
                                                                                  No. 17 BK 3283-LTS
    as representative of                                                          (Jointly Administered

    THE COMMONWEALTH OF PUERTO RICO, et al.,

    Debtor.1

    In re:
                                                                                  PROMESA
    THE FINANCIAL OVERSIGHT AND MANAGEMENT                                        Title III
    BOARD FOR PUERTO RICO,
                                                                                  No. 17 BK 4780-LTS
    as representative of                                                          (Jointly Administered)

    PUERTO RICO ELECTRIC POWER AUTHORITY,

    Debtor.




1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico (the
“Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto
Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17-BK-3284-LTS) (Last Four Digits of
Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-
BK3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of
the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566- LTS) (Last Four Digits of Federal
Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780-LTS) (Last
Four Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case
No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
Case numbers due to software limitations).
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 THE FINANCIAL OVERSIGHT AND MANAGEMENT
 BOARD FOR PUERTO RICO,
                                                                 Adv. Proc. No. 24-00062-LTS
 Plaintiff-Movant,

 v.

 HON. PEDRO PIERLUISI, in his official capacity as
 Governor of Puerto Rico; and HON. JOSE LUIS DALMAU,
 in his official capacity as President of the Senate of Puerto
 Rico.

 Defendants-Respondents.

  NOTICE OF MOTION OF THE FINANCIAL OVERSIGHT AND MANAGEMENT
          BOARD FOR PUERTO RICO FOR SUMMARY JUDGMENT
               PURSUANT TO BANKRUPTCY RULE 7056




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To the Court, the Parties Hereto, and Their Respective Attorneys of Record:

       PLEASE TAKE NOTICE THAT, upon this Notice, the Memorandum of Law in Support

of the Financial Oversight and Management Board for Puerto Rico’s Motion for Summary

Judgment Pursuant to Bankruptcy Rule 7056; Statement of Uncontested Material Facts;

Declaration of Robert F. Mujica, Jr. (with Exhibits), dated September 25, 2024; and the

Declaration of Guy Brenner (with Exhibits) dated September 25, 2024, Plaintiff the Financial

Oversight and Management Board for Puerto Rico (the “Oversight Board”) moves this Court,

before the Honorable Laura Taylor Swain, United States District Judge for the Southern District

of New York, at the Daniel Patrick Moynihan United States Courthouse, 500 Pearl Street,

Courtroom 17C, New York, New York on December 11, 2024 at 10 a.m. (Atlantic Standard time),

or as soon thereafter as counsel is heard, for an order pursuant to Federal Rule of Civil Procedure

56 and Federal Rule of Bankruptcy Procedure 7056 granting summary judgment (the “Motion”)

in favor of the Oversight Board, and for such other and further relief as the Court may deem just

and proper.

       A proposed order granting the Motion is attached and marked as Exhibit A hereto.

       This Motion is submitted in accordance with the Court’s order setting an expedited briefing

schedule [ECF No. 6]. Given the order, the Oversight Board respectfully submits no further

consultation is required with opposing counsel.

                          [Remainder of Page Intentionally Left Blank]




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       Dated: September 25, 2024             /s/ Miguel E. Gierbolini
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                                             Attorneys for the Financial Oversight
                                             and Management Board in its own
                                             right and as representative of the
                                             Puerto Rico Electric Power Authority




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                                  Exhibit A
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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


    In re:

    THE FINANCIAL OVERSIGHT AND MANAGEMENT
    BOARD FOR PUERTO RICO,                                                    PROMESA
                                                                              Title III
    as representative of
                                                                              No. 17 BK 3283-LTS
    THE COMMONWEALTH OF PUERTO RICO, et al.,                                  (Jointly Administered

    Debtor.1

    In re:

    THE FINANCIAL OVERSIGHT AND MANAGEMENT
    BOARD FOR PUERTO RICO,                                                    PROMESA
                                                                              Title III
    as representative of
                                                                              No. 17 BK 4780-LTS
    PUERTO RICO ELECTRIC POWER AUTHORITY,                                     (Jointly Administered)

    Debtor.




1
  The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the last four (4)
digits of each Debtor’s federal tax identification number, as applicable, are the (i) Commonwealth of Puerto Rico (the
“Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto
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BK3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of
the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566- LTS) (Last Four Digits of Federal
Tax ID: 9686); (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17-BK-4780-LTS) (Last
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No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
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    THE FINANCIAL OVERSIGHT AND MANAGEMENT
    BOARD FOR PUERTO RICO,

    Plaintiff-Movant,

    v.

    HON. PEDRO PIERLUISI, in his official capacity as             Adv. Proc. No. 24-00062-LTS
    Governor of Puerto Rico; and HON. JOSE LUIS DALMAU,
    in his official capacity as President of the Senate of Puerto
    Rico.

    Defendants-Respondents.

    [PROPOSED] ORDER GRANTING FINANCIAL OVERSIGHT AND MANAGEMENT
    BOARD FOR PUERTO RICO’S MOTION FOR SUMMARY JUDGMENT PURSUANT
                        TO BANKRUPTCY RULE 7056

          Upon consideration of Notice of Motion of the Financial Oversight and Management

Board for Puerto Rico For Summary Judgment Pursuant To Bankruptcy Rule 7056 (the

“Motion”),2 and all pleadings and admissible evidence submitted by all parties in respect of the

Motion, and it appearing that (i) the Court has subject matter jurisdiction over the Motion pursuant

to 28 U.S.C. § 1331, PROMESA §§ 106(a), 306(a)(2), and 306(b); (ii) venue of this proceeding

and the Motion is proper under 28 U.S.C. § 1391(b) and PROMESA §§ 106(a) and 307; (iii) notice

of the Motion was adequate and proper under the circumstances and that no further or other notice

need be given; and (iv) a hearing having been held on ______________, 2024 on due notice with

all appearances noted in the record, and after due deliberation and sufficient cause appearing

therefor, it is hereby

ORDERED and DECREED:

          1.      The Motion is GRANTED as set forth herein;




2
    Capitalized terms not otherwise defined herein shall have the meanings given to them in the Motion.



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                  a. Pursuant to sections 108(a)(2) and 104(k) of PROMESA, Act 10 is

                      nullified, unenforceable, and of no effect because the Oversight Board

                      determined it impairs or defeats PROMESA’s purposes based on its finding

                      that the law is directly contrary to the Commonwealth and PREPA fiscal

                      plans;

                  b. Pursuant to sections 108(a)(2) and 104(k) of PROMESA, Act 10 is

                      nullified, unenforceable, and of no effect because the Oversight Board

                      determined it impairs or defeats PROMESA’s purposes based on its finding

                      that the Governor failed to comply with section 204(a) of PROMESA;

                  c. Pursuant to sections 204(a)(5) and 104(k) of PROMESA, Act 10 is

                      nullified, unenforceable, and of no effect because the Governor failed to

                      comply with the requirements of PROMESA § 204(a)(2) and then failed to

                      comply with the Oversight Board’s direction pursuant to PROMESA §

                      204(a)(4), and nullification is necessary to avoid the law adversely affecting

                      Puerto Rico’s compliance with the Commonwealth and PREPA fiscal

                      plans;

          2.   Defendants are permanently enjoined from taking any acts to enforce or implement

Act 10;

          3.   Defendants’ affirmative defenses are hereby overruled; and

          4.   The Court shall retain jurisdiction to hear and determine all matters arising from

implementation of this Order.




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         SO ORDERED.

Dated:             , 2024.


                                               LAURA TAYLOR SWAIN
                                               United States District Court




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                                     CERTIFICATE OF SERVICE

        I hereby certify that, on this same date, I electronically filed the foregoing with the Clerk

 of the Court using the CM/ECF system, which will send notifications of such filing to all

 CM/ECF participants in this case.


                                                                       Miguel E. Gierbolini
                                                                      Miguel E. Gierbolini
